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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 MELODY G. WILSON,

            Plaintiff,                                         Case No.: 1:18-cv-08532

 v.
                                                               Honorable Ruben Castillo
 D & A SERVICES, LLC d/b/a DYNIA &
 ASSOCIATES,

             Defendant.

                              JOINT INITIAL STATUS REPORT

       Pursuant to Fed. R. Civ. P. 26(f) and this Court's Case Management Procedures, the

Parties submit the following Joint Initial Status Report.

1.     The Nature of the Case

       a.      Basis for jurisdiction, nature of the claims and counterclaims.

               This is an action brought by a consumer seeking redress for alleged violation(s) of

               the Fair Debt Collection practices Act (“FDCPA”), 15 U.S.C. §1692 et seq.

               Subject matter jurisdiction exists over the FDCPA claims under 28 U.S.C. §§

               1331 and 1337.

       b.      Relief sought by Plaintiff, including computation of claimed damages, if

               available.

               Plaintiff seeks statutory damages of up to $1,000.00 under the FDCPA, 15 U.S.C.

               §1692k(a)(2)(A). Plaintiff seeks actual damages under the FDCPA, 15 U.S.C.

               §1692k(a)(3), in an amount to be determined. Finally, Plaintiff seeks payment of




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             her reasonable costs and attorney fees under the FDCPA, 15 U.S.C.

             §1692k(a)(3), in an amount to be determined.

      c.     Names of any parties that have not been served. None

      d.     Major legal issues.

             Did Defendants engage in deceptive conduct as defined by the FDCPA in its

             interactions and communications with Plaintiff?

      e.     Major factual issues.

             Did the parties enter into an agreement? Were the terms of that agreement

             honored by Defendant?      What statements and representations were made by

             Defendant?    Did Plaintiff suffer damages?

      f.     Citations to key authorities which will assist the Court in understanding and

             ruling on the issues. None at this time.

2.    Preparation of Draft Scheduling Order

      a.     The Parties anticipate both oral and written discovery.

      b.     This matter is subject to the Mandatory Initial Discovery Plan (“MIDP”). As

             such, the Parties will comply with those procedures and have each tendered their

             MIDP responses.

      c.     The Parties do not anticipate the need for expert discovery at this time. The

             Parties request a status conference near the close of fact discovery to advise the

             Court if they believe expert discovery is needed.

      d.     The Parties are to complete fact discovery by July 28, 2019.

      e.     The Parties are to file dispositive motions by September 17, 2019.



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3.     Trial Status

       a.      Whether or not a jury has been requested. Plaintiff has demanded a trial by

               jury.

       b.      Probable length of the trial. The Parties believe a trial by jury will last no more

               than two days.

4.     Consent to Proceed Before a Magistrate Judge

       a.      Whether or not the parties will consent to proceed before a Magistrate Judge

               for all proceedings including trial. The Parties do not agree to proceed before

               the Magistrate Judge for all proceedings.

5.     Settlement Status

       a.      Whether or not settlement discussions have been held and the status of those

               discussions, if any. Plaintiff has tendered a settlement demand to Defendant, and

               Defendant is considering an appropriate response.


Dated: February 26, 2019



Respectfully Submitted,                       Respectfully Submitted,

s/ Nathan C. Volheim                          s/ Andrew E. Cunningham
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